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EXHIBIT H
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Olde Monmouth Stock Transfer Co., Inc.
200 Memorial Parkway
Atlantic Highlands, NJ 07716

NOTICE OF TRANSFER FEE CHANGES

Gentlemen:

Please be advised that Effective July 24, 2006 Olde Monmouth Stock
Transfer will amend its Transfer Fee schedule as detailed below:

NEW RATES OLD RATES
“Issuance Fee 3 70.00 per certificate $ 35.00 per cert
*Cancellation Fee $ 20.00 per certificate: $ 10.00 per cert
*Rush Issuance Fee $ 100.00 per transaction  § 50.00 per transaction
*Legend Removal $ 140.00 per shareholder § 70.00 per shareholder

“Lost/Stolen Cert Fee —_ $ 300.00 per certificate $ 150.00 per certificate

*ALL TRANSFER REQUESTS SHOULD BE ACCOMPANIED WITH A
CHECK FOR THE FULL AMOUNT OF THE APPLICABLE FEES.

* Olde Monmouth Reserves the right to provide discounts on certain transactions.

